Case 1:11-cv-07550-GBD-SN Document 320-6 Filed 02/22/20 Page1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

= x
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :

MOTION TO PERMIT
ATTACHMENT AND
EXECUTION PURSUANT
TO 28 U.S.C. §1610(c)

03 MDL 1570 (GBD) (SN)

This Document Relates to
Hoglan, et al. v. Iran, et al.
1:11-ev-07550 (GBD) (SN)

EXHIBIT E

Case 1:11-cv-07550-GBD-SN Document 320-6 Filed 02/22/20 Page 2 of 3
Case 1:03-cv-09848-GBD Document 389-8 Filed 07/11/13 Page 1 of 2

United States Department of State

Washington, D.C. 20520

January 25, 2013
Ruby J. Krajick
Clerk of Court
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

Re: Havlish, et al., v. Bin Laden, 03 MDL 1570 (GDB)
Dear Ms. Krajick:

[am writing regarding the Court’s request for service of Orders and
Judgments and Notices of Default Judgment pursuant to 28 U.S.C.
1608(a)(4) in the above referenced lawsuit. The Court has requested service
upon the following 16 defendants in this matter:

1. Islamic Republic of Iran via H.E. Dr. Ali Akbar Salehi Minister of
Foreign Affairs of the Islamic Republic of Iran

2. Ayatollah Ali Khamenei Supreme Leader of Iran

3. Akbar Hashemi Rafsanjani Chairman, Expediency Discernment

Council

Iranian Ministry of Information and Security

Islamic Revolutionary Guard Corps

Hezbollah, an unincorporated association

Iranian Ministry of Petroleum

National Iranian Tanker Corporation

National Iranian Oil Corporation

10.National Iranian Gas Corporation

11.Tran Airlines

12.National Iranian Petrochemical Company

13.Iranian Ministry of Economic Affairs and Finance

14.Iranian Ministry of Commerce

15.Iranian Ministry of Defense and Armed Forces Logistics

16.The Central Bank of the Islamic Republic of Iran

eo ST ey i oe

Case 1:11-cv-07550-GBD-SN Document 320-6 Filed 02/22/20 Page 3 of 3
Case 1:03-cv-09848-GBD Document 389-8 Filed 07/11/13 Page 2 of 2

The service provisions of the Foreign Sovereign Immunities Act (FSIA)
provide that service pursuant to 28 U.S.C. 1608(a) “shall be made upon a
foreign state or political subdivision of a foreign state.” Of the defendants
listed above, only 1, 4, 5, 7, 13, 14, 15 and 16 are foreign states or political
subdivisions of a foreign state. We will proceed with providing service upon
these entities as requested.

The remainder of the defendants listed are natural persons or
organizations and the Department of State is thus unable to provide service
of process upon them as requested under 28 U.S.C. 1608(a)(4). We are
therefore returning the checks related to requests for service upon these
defendants. If any of these defendants are considered “agencies or
instrumentalities” of Iran as contemplated by 28 U.S.C. 1608(b), the
Department of State would be able to forward letters rogatory requesting the
assistance of Iranian authorities to provide service of process upon these
defendants pursuant to that provision of the FSIA, 28 U.S.C. 1608(b)(3)(A),
should the court issue such letters rogatory.

The request included only one set of documents for each of the 16
defendants named above. Because the Department requires two sets for
each defendant, we will use the additional documents to complete the
required number of copies for the 8 requests that we are able to process.

Should you have any questions regarding this matter, please do not
hesitate to contact me at (202) 736-9115.

Vili, f

William P. Fritzle
Attorney Adviser

Overseas Citizens Services
Office of Legal Affairs

Cc: Thomas E. Mellon, Jr.
Mellon & Webster
87 North Broad Street
Doylestown, PA 18901

